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                                                                              FILED
                                                                            U.S. DISTRICT COURT
                                                                        EASTERN DISTRICT ARKANSAS

                                                                            SEP 2 6 2018
                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS

CINDY GRAHAM, Derivatively on Behalf
of Nominal Defendant WINDSTREAM        ~   Case No.   J./: /~ -cv- 7/)Cf- SWW
HOLDINGS, INC.,                        )
                                       )
                  Plaintiff,           )
     v.                                )
                                       )
ALAN L. WELLS, TONY THOMAS,            )
SAMUEL E. BEALL, III, JEANNIE H.       )   JURY TRIAL DEMANDED
DIEFENDERFER, JEFFREY T. HINSON,       )
WILLIAM G. LAPERCH, JULIE A.           )
SHIMER, MICHAEL G. STOLTZ,             )
WALTER L. TUREK, CAROL B.              )
ARMITAGE, LARRY LAQUE, MARC F.         )
STOLL, and BOB GUNDERMAN,              )
                                       )
                  Defendants,          )    This case assigned to District Judge   Wdj-At:
                                       )    and to Magistrate Judge   _J<u.-..tne~y,___
                                                                               . ____
     - and-                            )
                                       )
WINDSTREAM HOLDINGS, INC.,             )
                                       )
                  Nominal Defendant.   )



              VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
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       Plaintiff Cindy Graham ("Graham" or "Plaintiff''), by and through her undersigned

counsel, brings this action derivatively on behalf of Nominal Defendant Windstream Holdings,

Inc. ("Windstream" or the "Company") against certain current and former members of

Windstream' s Board of Directors (the "Board") and executive officers, seeking to remedy breaches

of fiduciary duties related to the false and materially misleading statements they caused

Windstream to file with the U.S. Securities and Exchange Commission ("SEC") and otherwise

communicate to shareholders. Plaintiff makes these allegations upon personal knowledge, as to

the facts of her ownership of Windstream stock, and upon information and belief, as to all other

matters, based upon an in-depth review of: (a) public filings made by Windstream and other related

parties and non-parties with the SEC; (b) press releases and other publications disseminated by the

Company and other related non-parties; (c) news articles, shareholder communications, and

postings on Windstream's website concerning the Company's public statements; (d) the

proceedings in a related federal securities class action currently pending in the U.S. District Court

for the Eastern District of Arkansas, captioned Murray v. EarthLink Holdings Corp., No. 4: 18-cv-

00202 (the "Securities Action"); and (e) other publically available information concerning

Windstream and the Individual Defendants (defined below).

I.     NATURE OF THE ACTION

       1.      This is a shareholder derivative action brought on behalf and for the benefit of

Windstream against the Individual Defendants, including each member of Windstream's current

Board, for breaches of fiduciary duties of loyalty, good faith, and candor arising from the disloyal

and dishonest management of Windstream at the time of, and following, its merger with EarthLink

Holdings Corp. ("EarthLink") (the "Merger"), and for falsely and misleadingly portraying

Windstream's business as strong, its debt as stable, and its dividend as continuing (if not growing)

following the Merger in violation of the federal securities laws.


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       2.      Windstream is a provider of network communications for consumers, businesses,

enterprise organizations, and wholesale customers.

       3.      On February 27, 2017, following shareholder approval, Windstream completed its

merger with EarthLink, a leading provider of data, voice, and managed network services to retail

and wholesale business customers and nationwide Internet service to residential customers. In

effecting the Merger, each share of EarthLink common stock was exchanged for 0.818 shares of

Windstream common stock. In the aggregate, Windstream issued approximately 93 million shares

and assumed approximately $435 million of EarthLink's long-term debt, which the Company

refinanced, in a transaction valued at approximately $1.1 billion.

       4.      To gamer support for the Merger, the Individual Defendants caused Windstream

(and EarthLink for that matter) to represent to shareholders in a Joint Prospectus (defined below)

regulated by the federal securities laws that Windstream's business was, and will continue to be,

strong, that the Merger will enable Windstream to have greater financial flexibility for debt

reduction, and that its dividend was stable, if not likely to increase, post-Merger. Specifically, the

Joint Prospectus claimed - albeit falsely - that "the merger[] will create a stronger, more

competitive national telecommunications provider," "the transaction will ... allow[] greater

financial flexibility for strategic network investments and debt reduction and provid[e] support for

the continued payment of Windstream's existing dividend after closing of the transaction," and

that its "Dividend Practice[] [was to] Maintain Windstream annual dividend of $0.60 I share."

       5.      Yet, immediately following the close of the Merger, Windstream began posting

weak financial results, which continued throughout the rest of 2017 and into 2018. This naturally

led analysts and stockholders alike to express concern about Windstream's declining business.




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       6.      Indeed, on March 1, 2017, a mere two days after the Merger closed, Windstream

issued its 2016 fourth quarter and fiscal year consolidated financials that revealed Windstream

missed revenue estimates by a wide $30 million.         This revelation let Moody's, citing "the

company's weak 2016 results and 2017 guidance," to change its rating on Windstream's debt

from "stable" to "negative" and Seeking Alpha to comment that the Company's "results didn't

exactly help [its] investment thesis" and that they "add[ed] to general concerns about its declining

business."

       7.      By August 2017 the story worsened. In complete defiance of its commitment to at

least maintain and pay Windstream's current dividend, which shareholders of both EarthLink and

Windstream relied on to form the basis of their votes on the Merger, the Individual Defendants

shocked the market and eliminated Windstream's dividend while also causing Windstream to

report a whopping $68 million loss for the second quarter of 2017.

       8.      Analysts quickly observed the severity of this news, explaining how the loss of

Windstream's dividend was a death knell for the Company. For example, on August 3, 2017, the

same day Windstream' s divided was eliminated, Seeking Alpha released an article, entitled "The

Death Of Windstream," which explained that "the reason people owned this name, or other high

risk telecoms, is for the bountiful dividend.... The Problem? The elimination of the divided is

enough for most investors to throw in the towel."

       9.      Likewise, in November 2017, following news ofWindstream's receipt of a notice

of default from holders of certain Senior Notes, analysts warned of Windstream's "critical

condition," observing that ''the reason the stock tanked, aside from facing extreme competitive

pressures and financial issues, is that the company had eliminated its dividend all together back in

August."




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       10.     In concealing the truth about Windstream' s faltering business, its unstable debt, and

its disappearing dividend, the Individual Defendants have breached their fiduciary duties to the

Company and its stockholders and caused the Company to violate federal securities law. As a

result of these breaches, the Company faces millions of dollars in potential liability and costs

associated with the related Securities Action, which alleges similar false and misleading statements

in the Registration Statement (defined below) and Joint Prospectus. Windstream's Board has not,

and will not, commence litigation against the Director Defendants (defined below), nor will they

vigorously prosecute such claims because they face a substantial likelihood of liability for their

misconduct. Additionally, the Director Defendants face a substantial likelihood of liability to

Windstream for failing to correct and/or implement the necessary internal controls to prevent the

harm to the Company that has occurred, or is likely to occur, related to the false and misleading

statements used to induce EarthLink and Windstream shareholders to approve the Merger.

Accordingly, a pre-suit demand upon the Board is a useless and futile act. Thus, Plaintiff brings

this action on Windstream' s behalf.

II.    JURISDICTION AND VENUE

       11.     This derivative action is brought pursuant to Rule 23 .1 of the Federal Rules of Civil

Procedure.

       12.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because the

claims asserted arise under §§ 14(a) and 29(b) of the Securities Exchange Act of 1934 (the

"Exchange Act") (15 U.S.C. §§78n(a) and 78cc(b)).

       13.     This Court also has diversity jurisdiction pursuant to 28 U.S.C. §1332 because the

parties are completely diverse and the amount in controversy exceeds $75,000.




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        14.    This Court has supplemental jurisdiction over the state law claims pursuant to 28

U.S.C. §1367(a). This action is not a collusive one to confer jurisdiction on a court of the United

States that it would not otherwise have.

        15.    This Court has personal jurisdiction over each Defendant because each Defendant

has committed acts related to the claims at issue in this Complaint within this District.

        16.    Venue is proper in this District because Nominal Defendant Windstream is

headquartered in this District, in Little Rock, Arkansas, and a number of the Individual Defendants

are citizens of the State of Arkansas. Additionally, venue is proper in this District because a

substantial portion of the transactions and wrongs complained of herein, including Defendants'

primary participation in the wrongful acts detailed herein, occurred in this District.

III.   PARTIES

       A.      Plaintiff

        17.    Plaintiff Graham is a shareholder of Windstream and has continuously held her

shares at all times relevant hereto. Plaintiff will continue to hold Windstream shares throughout

the pendency of this action. Plaintiff will fairly and adequately represent the interests in enforcing

the rights of the Company. Plaintiff is a citizen of the State of North Carolina.

       B.      Nominal Defendant

        18.    Nominal Defendant Windstream is a Delaware corporation with its principal

executive offices located at 4001 Rodney Parham Road, Little Rock, Arkansas 72212. During the

period in question, Windstream was a leading provider of advanced network communications and

technology solutions for businesses across the United States, offering broadband, entertainment,

and security solutions to consumers and small businesses primarily in rural areas in 18 states.




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       C.      Director Defendants

       19.     Defendant Alan L. Wells ("Wells") has served as a director of the Company since

2010 and serves as Chairman of the Board. Defendant Wells was aware that Windstream's

business was facing significant challenges, its debt was unstable, and its dividend was not secure,

yet he caused Windstream to disseminate false and misleading statements, including in a false and

misleading Joint Prospectus, concealing the truth. Defendant Wells faces a substantial likelihood

of liability, as a result of the misconduct alleged herein, and is a named defendant in the Securities

Action. Upon information and belief, Defendant Wells is a citizen of the State of Iowa.

       20.     Defendant Tony Thomas ("Thomas") was appointed President and Chief Executive

Officer ("CEO") and to the Board on December 11, 2014. Previously, Defendant Thomas served

as President-REIT Operations, Chief Financial Officer ("CFO"), Treasurer, and Controller for the

Company. Defendant Thomas was aware that Windstream's business was facing significant

challenges, its debt was unstable, and its dividend was not secure, yet he caused Windstream to

disseminate false and misleading statements, including in a false and misleading Joint Prospectus,

concealing the truth. Per Windstream's proxy statements, Defendant Thomas was not deemed

"independent" under the applicable rules of the NASDAQ. Defendant Thomas faces a substantial

likelihood of liability, as a result of the misconduct alleged herein, and is a named defendant in the

Securities Action. Upon information and belief, Defendant Thomas is a citizen of the State of

Arkansas.

       21.     Defendant Samuel E. Beall, III ("Beall") has served as a director of the Company

since November 2006 and currently serves on the Compensation Committee. Defendant Beall was

aware that Windstream's business was facing significant challenges, its debt was unstable, and its

dividend was not secure, yet he caused Windstream to disseminate false and misleading

statements, including in a false and misleading Joint Prospectus, concealing the truth. Defendant


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Beall faces a substantial likelihood of liability, as a result of the misconduct alleged herein, and is

a named defendant in the Securities Action. Upon information and belief, Defendant Beall is a

citizen of the State of Tennessee.

       22.     Defendant Jeannie H. Diefenderfer ("Diefenderfer") has served as a director of the

Company since February 2016 and currently serves as Chair of the Governance Committee.

Defendant Diefenderfer was aware that Windstream's business was facing significant challenges,

its debt was unstable, and its dividend was not secure, yet she caused Windstream to disseminate

false and misleading statements, including in a false and misleading Joint Prospectus, concealing

the truth. Defendant Diefenderfer faces a substantial likelihood of liability, as a result of the

misconduct alleged herein, and is a named defendant in the Securities Action. Upon information

and belief, Defendant Diefenderfer is a citizen of the State ofNew Jersey.

       23.     Defendant Jeffrey T. Hinson ("Hinson") has served as a director of the Company

since Windstream' s formation in 2006 and is currently a member of the Governance and Audit

Committees. Defendant Hinson was Chairman of the Board from May 2013 to April 2017, served

on the Audit Committee from 2006 to May 2013, and was Chair of the Audit Committee from

May 2010 to May 2013. Defendant Hinson was aware that Windstream's business was facing

significant challenges, its debt was unstable, and its dividend was not secure, yet he caused

Windstream to disseminate false and misleading statements, including in a false and misleading

Joint Prospectus, concealing the truth. Defendant Hinson faces a substantial likelihood of liability,

as a result of the misconduct alleged herein, and is a named defendant in the Securities Action.

Upon information and belief, Defendant Hinson is a citizen of the State of Texas.

       24.     Defendant William G. LaPerch ("LaPerch") has served as a director of the

Company since September 2014 and Chair of the Compensation Committee since May 2016.




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Defendant LaPerch was aware that Windstream's business was facing significant challenges, its

debt was unstable, and its dividend was not secure, yet he caused Windstream to disseminate false

and misleading statements, including in a false and misleading Joint Prospectus, concealing the

truth. Defendant LaPerch faces a substantial likelihood of liability, as a result of the misconduct

alleged herein, and is a named defendant in the Securities Action. Upon information and belief,

Defendant LaPerch is a citizen of the State ofNew York.

       25.     Defendant Julie A. Shimer ("Shimer") was appointed to the Board on March 1,

2017 in connection with Windstream' s merger with EarthLink. She serves as a member of the

Governance and Audit Committees. Defendant Shimer previously served on EathLink's board of

directors (the "EarthLink Board") from July 2013 to the closing of the merger and as Chair of the

EarthLink Board.     In this role, Defendant Shimer became aware, prior to the Merger, that

Windstream's business was facing significant challenges, its debt was unstable, and its dividend

was not secure. Defendant Shimer faces a substantial likelihood of liability, as a result of the

misconduct alleged herein, and is a named defendant in the Securities Action. Upon information

and belief, Defendant Shimer is a citizen of the State of New York.

       26.     Defendant Michael G. Stoltz ("Stoltz") has served as a director of the Company

since September 2014. Defendant Stoltz was aware that Windstream's business was facing

significant challenges, its debt was unstable, and its dividend was not secure, yet he caused

Windstream to disseminate false and misleading statements, including in a false and misleading

Joint Prospectus, concealing the truth. Defendant Stoltz currently serves as Chair of the Audit

Committee.    Defendant Stoltz faces a substantial likelihood of liability, as a result of the

misconduct alleged herein, and is a named defendant in the Securities Action. Upon information

and belief, Defendant Stoltz is a citizen of the State of Colorado.




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        27.     Defendant Walter L. Turek ("Turek") joined the Board on March 1, 2017 in

connection with Windstream' s merger with EarthLink. He is a member of the Compensation

Committee. Defendant Turek served on the EarthLink Board beginning in October 2015. In this

role, Defendant Turek became aware, prior to the Merger, that Windstream's business was facing

significant challenges, its debt was unstable, and its dividend was not secure. Defendant Turek

faces a substantial likelihood of liability, as a result of the misconduct alleged herein, and is a

named defendant in the Securities Action. Upon information and belief, Defendant Turek is a

citizen of the State of Florida.

        28.     Defendants Wells, Thomas, Beall, Diefenderfer, Hinson, LaPerch, Shimer, Stoltz,

and Turek constitute all of the current members of the Company's Board and are collectively

referred to herein as the "Director Defendants."

        29.     Defendants Hinson, Shimer, and Stoltz are collectively referred to herein as the

"Audit Committee" or "Audit Committee Defendants."

        30.     Defendants Diefenderfer, Hinson, and Shimer are collectively referred to herein as

the "Governance Committee" or "Governance Committee Defendants."

        D.      Former Director and Current Executive Defendants

        31.     Defendant Carol B. Armitage ("Armitage") served as a director of the Company

from 2007, through Windstream' s merger with EarthLink, until May 22, 2018, when the Board

reduced the number of directors serving the Company. Defendant Armitage was aware that

Windstream's business was facing significant challenges, its debt was unstable, and its dividend

was not secure, yet she caused Windstream to disseminate false and misleading statements,

including in a false and misleading Joint Prospectus, concealing the truth. Defendant Armitage

faces a substantial likelihood of liability, as a result of the misconduct alleged herein, and is a




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named defendant in the Securities Action. Upon information and belief, Defendant Armitage is a

citizen of the State ofNew York.

        32.    Defendant Larry Lague ("Lague") served as a director of the Company from

February 9, 2016, through Windstream's merger with EarthLink, until May 22, 2018, when the

Board reduced the number of directors serving the Company. Defendant Lague was aware that

Windstream's business was facing significant challenges, its debt was unstable, and its dividend

was not secure, yet he caused Windstream to disseminate false and misleading statements,

including in a false and misleading Joint Prospectus, concealing the truth. Defendant Lague faces

a substantial likelihood of liability, as a result of the misconduct alleged herein, and is a named

defendant in the Securities Action. Upon information and belief, Defendant Lague is a citizen of

the State of Virginia.

       33.     Defendant Marc F. Stoll ("Stoll")joined the Board on March 1, 2017 in connection

with Windstream' s merger with EarthLink and remained a director until May 22, 2018, when the

Board reduced the number of directors serving the Company. Defendant Stoll served on the

EarthLink Board beginning in April 2016. In this role, Defendant Stoll became aware, prior to the

Merger, that Windstream's business was facing significant challenges, its debt was unstable, and

its dividend was not secure. Defendant Stoll faces a substantial likelihood of liability, as a result

of the misconduct alleged herein, and is a named defendant in the Securities Action. Upon

information and belief, Defendant Stoll is a citizen of the State of California.

       34.     Defendant Bob Gunderman ("Gunderman") was appointed CFO for Windstream in

2014. Defendant Gunderman has held numerous leadership roles within the Company and is

currently responsible for overseeing Windstream's accounting, financial, capital planning, tax,

procurement, audit, investor relations, and treasury teams. Defendant Gunderman was aware that




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Windstream's business was facing significant challenges, its debt was unstable, and its dividend

was not secure, yet he caused Windstream to disseminate false and misleading statements

concealing the truth. Defendant Gunderman faces a substantial likelihood of liability, as a result

of the misconduct alleged herein, and is a named defendant in the Securities Action. Upon

information and belief, Defendant Gunderman is a citizen of the State of Arkansas.

        35.     Director Defendants and Defendants Armitage, Lague, Stoll, and Gunderman are

collectively referred to herein as the "Individual Defendants."

        36.     Nominal Defendant Windstream and the Individual Defendants are collectively

referred to herein as the "Defendants."

IV.     THE INDIVIDUAL DEFENDANTS' DUTIES AND OBLIGATIONS

        A.      Duties of All Individual Defendants

        37.     By reason of their positions as directors and fiduciaries of Windstream, and by

virtue of their ability to control the business and corporate affairs of the Company, each of the

Individual Defendants owed, and owes, Windstream and its shareholders the fiduciary obligations

of loyalty, good faith, and candor and were, and are, required to use their utmost ability to control

and manage the Company in a lawful, fair, just, honest, and equitable manner. The Individual

Defendants were, and are, required to act in furtherance of the best interests of Windstream and its

shareholders, so as to benefit all shareholders equally and not in furtherance of their personal

interest or benefit.

        38.     Each Individual Defendant owes to Windstream and its shareholders the fiduciary

duty to exercise good faith and diligence in the administration of the affairs of the Company, in

the use and preservation of its property and assets, and the highest obligations of fair dealing.




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       39.     At all times relevant hereto, each Individual Defendant was the agent of each of the

other Individual Defendants, and of the Company, and was at all times acting within the course

and scope of such agency.

       40.     By virtue of their fiduciary duties ofloyalty, good faith, and candor, each Individual

Defendant was required to, among other things:

               a.     exercise good faith to ensure that Windstream' s affairs were conducted in

                      an efficient, business-like manner;

               b.     exercise good faith to ensure that the Company was operated in a diligent,

                      honest, and prudent manner and complied with all applicable federal and

                      state laws, rules, regulations, requirements, and all contractual obligations,

                      including acting only within the scope of its legal authority;

               c.     when put on notice of problems with the Company's business practices and

                      operations, exercise good faith in taking appropriate action to correct the

                      misconduct and prevent its recurrence; and

               d.     remain informed as to how the Company conducted its operations, and upon

                      receipt of notice or information of imprudent or unsound conditions or

                      practices, make reasonable inquiry in connection therewith.

       41.     Further, the Individual Defendants who were, and are, members of the committees

of Windstream' s Board, assumed the responsibility to carry out the functions of their committees.

       42.     The Individual Defendants knowingly or consciously breached their fiduciary

duties of loyalty and good faith. They did so by causing themselves or allowing other Individual

Defendants to cause Windstream to falsely and misleadingly represent that Windstream's business

was solid, its debt was stable, and its dividend would be maintained, if not grow, following the




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Merger.      This misconduct has caused Windstream to be damaged both financially and

reputationally.

       43.        Furthermore, by virtue of their positions of control and authority as directors and/or

officers of Windstream, the Individual Defendants were able to and did, directly or indirectly,

exercise control over the wrongful acts complained of herein. The Individual Defendants also

failed to prevent each other from their misconduct.

       44.        Windstream's bylaws, articles of incorporation, corporate governance guidelines,

and Code of Conduct, as well as Board committee charters, specifically set forth the duties and

obligations that Windstream Board members and/or officers are required to fulfill on behalf of the

Company.

       45.        According    to   Windstream's         Corporate   Governance    Board    Guidelines

("Governance Guidelines"), the Board's duty extends "to monitor[ing] and provid[ing] oversight

to ... management, on behalf of the Company's stockholders, related to the business and affairs

of the Company, and . . . to otherwise discharge all duties and responsibilities imposed upon

directors of the Company by law or regulation." 1 Importantly, the "Board of Directors retains full

oversight responsibility for all subject matters not assigned to the Committees in their charters,

including risks presented by business strategy, competition, regulation, general industry trends

including the disruptive impact of technological change, capital structure and allocation, and

mergers and acquisitions." [Emphasis added]. In addition, the Governance Guidelines expressly

encourage Board members to bring managers into Board meetings and state that "Board members




       All of Windstream' s corporate governance documents referenced or quoted herein are
available on the Company's website at http://investor.windstream.com/index.php/corporate-
governance; and http://investor.windstream.com/index.php/corporate-governance/committee-
composition.


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should have complete access to the management and such independent advisors as the Board

determines are necessary to discharge the Board's duties and responsibilities."

       46.     Windstream also maintains an ethics and compliance code, known as the Working

with Integrity guidelines (hereinafter, "Ethics Code"), which expressly states that "Windstream is

committed to conducting business in a manner that is ethical and promotes the best interests of its

stockholders, employees, and customers. Windstream expects every employee and member of the

board of directors to be ethical and honest, comply with the law, and avoid any appearance of

impropriety or conflict of interest." According to the Ethics Code:

       As a public company, Windstream is required to follow prescribed accounting
       principles and disclosure standards to report financial and other information
       accurately and completely. Windstream is also required to have appropriate internal
       controls and processes in place to ensure that financial and other disclosures comply
       with the law and Securities and Exchange Commission (SEC) regulations.

                                              ***
       All employees with any responsibility for the preparation of Windstream's public
       reports, including all employees involved in drafting, reviewing, and signing or
       certifying the information contained in those reports, have an obligation to ensure
       that Windstream's financial statements, filings and submissions with the SEC, and
       other public statements and disclosures are complete, fair, accurate, timely, and
       understandable.

       All financial books, records, and accounts must follow Windstream's system of
       internal controls, as well as all generally accepted accounting principles, laws, and
       regulations for accounting and public reporting. You must accurately and
       completely record and report all information, and you must not assist anyone
       with recording or reporting any information in an inaccurate or misleading way.

[Emphasis added].

       B.      Additional Duties on the Audit Committee Defendants

       47.     Windstream has delegated additional responsibilities to the members of its Audit

Committee, who are charged with:

       [A]ssist[ing] the Board of Directors in overseeing the quality and integrity of
       Windstream's accounting, auditing, internal controls, compliance and risk


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       assessment practices related to (i) the financial statements and financial reporting
       process including disclosure controls and procedures, (ii) the system of internal
       accounting and financial controls, ... (v) legal and regulatory compliance
       monitoring and (vi) compliance with ethics programs established by Windstream's
       management and the Board of Directors.

[Emphasis added].

       48.       Pursuant to the Audit Committee Charter, effective August 30, 2013 and amended

May 3, 2016 (the "Audit Charter"), the members of the Audit Committee, including each of the

Audit Committee Defendants, were and are responsible, among other things, for:

       [R]eview[ing] Windstream's interim financial statements with Windstream's
       management and independent auditors prior to the filing of Windstream' s Quarterly
       Report on Form 10-Q, including reviewing disclosures contained in the
       Management Discussion and Analysis of Financial Condition and Results of
       Operations section of the Form 10-Q. The Committee shall discuss the results of
       the quarterly review and any other matters required to be communicated to the
       Committee by the independent auditors under generally accepted auditing
       standards, the federal securities laws and the NASDAQ rules. The Committee shall
       also review (i) management's disclosure to the Committee and the independent
       auditor under Section 302 of the Sarbanes-Oxley Act, including identified changes
       in internal control over financial reporting, and (ii) the contents of the Chief
       Executive Officer and the Chief Financial Officer certifications to be filed under
       Sections 302 and 906 of the Sarbanes- Oxley Act and the process conducted to
       support the certification.

       [R]eview[ing] with Windstream's management and independent auditors the
       financial statements to be included in Windstream's Annual Report on Form 10-K
       (or the annual report to stockholders if distributed prior to the filing of Form 10-K),
       including the independent auditors' judgment about the quality, not just
       acceptability, of accounting principles, the reasonableness of significant judgments
       and the clarity of the disclosures in the financial statements.

                                               ***
       [R]eview[ing] with Windstream's management and independent auditors:

             •   accounting principles applied by Windstream in connection with material
                 accounting decisions and transactions, including material business
                 acquisitions and dispositions;

                                               ***



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       [D]iscuss[ing] with Windstream's management Windstream's policy for earnings
       press releases, as well as for providing guidance and other financial information to
       analysts, rating agencies and other constituencies in the investment community.

                                             ***
       [R]eport[ing] regularly to the Board of Directors on matters within the scope of the
       Committee, including any issues that arise with respect to the quality or integrity
       of Windstream's financial statements, Windstream's compliance with legal or
       regulatory requirements, ... and any other issues the Committee believes merit the
       attention of the Board of Directors.

V.     SUBSTANTIVE ALLEGATIONS

       49.     Windstream is a leading provider of advanced network communications and

technology solutions for businesses and offers broadband, entertainment, and security solutions to

consumers and small businesses across the United States.

       50.     In 2014 and 2015, in addition to strategic business opportunities, Windstream

began evaluating other unique ways to accelerate network investments and reduce debt. According

to the Joint Prospectus, as part of Windstream's ongoing evaluation of business opportunities in

the telecommunications industry and EarthLink's ongoing review and evaluation of its strategic

plans and objectives, representatives of EarthLink and Windstream had several calls, meetings,

and other communications in 2014 and 2015 regarding enhanced commercial agreements and/or

various business combination alternatives, none of which resulted in any agreement or

understanding with respect to a business combination.

       51.     On September 1, 2016, Defendant Thomas and Non-party Joe Eazor ("Eazor"),

EarthLink's CEO and President, had a call to discuss ongoing commercial negotiations regarding

network access between the companies, the potential opportunity for a broader commercial

arrangement, and whether a strategic business combination would be beneficial to the companies

and their stockholders.




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       A.      The Merger Is Approved by Each Company's Board of Directors After
               Current and Future Financial Information Made Available by Windstream's
               Board Is Reviewed

       52.     On November 7, 2016, EarthLink and Windstream formally announced the Merger,

listing as "Compelling Strategic and Financial Benefits":

       Enhances [to Windstream's] balance sheet and increases [in] free cash flow:
       Including run-rate synergies, on a pro forma basis for the 12 months ended Sept.
       30, 2016, the combined company would have a net leverage ratio of 3.2x. Further,
       the transaction will be significantly accretive to Windstream's adjusted free cash
       flow allowing greater financial flexibility for strategic network investments and
       debt reduction while increasing dividend coverage.

[Emphasis added in bold and italics].

This followed a review of each company's current and future financial information.

       53.     Indeed, approximately four weeks earlier, on October 3, 2016, Windstream and

EarthLink entered into a confidentiality agreement allowing each company the ability to share

non-public information regarding then-present financials and prospects.

       54.     On October 4, 2016, members of EarthLink's and Windstream's management,

including Eazor and Defendant Thomas, met in Atlanta, Georgia, and discussed the companies'

respective businesses, including selected financial and other business information.

       55.     On October 5, 2016, following a Windstream Board meeting, Windstream

submitted an indication of interest to EarthLink that contemplated a deal wherein each EarthLink

shareholder would receive 0.7 Windstream shares for every EarthLink share owned. Purportedly,

according to the Joint Prospectus:

       In delivering the proposal, [Defendant] Thomas highlighted some of the reasons for
       EarthLink to consider a potential combination, including that the two companies
       could create more value together than apart, that EarthLink stockholders would
       own approximately 45% of the combined company, that substantial synergies
       would be expected from the combination and that the amount of the dividend
       currently paid to EarthLink stockholders would likely increase following the
       transaction.



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[Emphasis added].

       56.     The EarthLink Board met on October 7 and October 10, 2016 to review the

proposed terms and to discuss Windstream's financial condition, including Windstream's

representation that its dividend "would likely increase following the transaction." On October 10,

2016, the EarthLink Board submitted a counterproposal with a 0.8 exchange ratio and the

following statement, underscoring the criticality of Windstream's dividend: "the parties must

mutually agree before signing upon the dividend policy following the transaction, at the discretion

of the Windstream Board."

       57.     On October 11, 2016, Windstream submitted a counterproposal complete with a

0. 75 exchange ratio and the following commitment concerning its dividend: "maintenance of

Windstream's existing $0.60 per share dividend policy following the transaction, at the discretion

of the Windstream Board."

       58.     On October 12, 2016, EarthLink sought to secure more Windstream shares for

current EarthLink shareholders and proposed an exchange ratio of 0.8. Noticeably, EarthLink

dropped the dividend language in its counterproposal. Further, both EarthLink and Windstream

exchanged and/or made available to one another additional non-public information for due

diligence purposes and by providing the other access to their respective electronic data rooms.

According to the Joint Prospectus, "[t]hereafter and continuing until the execution of the merger

agreement on November 5, 2016, the management teams of Windstream and EarthLink, together

with their respective financial, legal and accounting advisors, performed reciprocal due diligence

reviews through a series of in-person and telephonic discussions and review of publicly available

information and non-public information made available by each party."

       59.     On October 29, 2016, Windstream verbally agreed to the 0.8 exchange ratio and

confirmed the agreement in a revised draft merger agreement on October 31, 2016 - the terms of


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which were later leaked to the market by Reuters in a November 4, 2016 article. According to

public reports, EarthLink's CEO called Defendant Thomas to express concern over the market's

reaction to the 0.8 exchange ratio.

          60.   By November 5, 2016, the exchange ratio was increased to 0.818 and the EarthLink

Board, having reviewed Windstream' s financial condition and prospects, unanimously approved

the Merger.

          B.    While Soliciting Support for the Merger, the Individual Defendants Withheld
                Material Information from Shareholders in Violation of Their Fiduciary
                Duties and the Federal Securities Laws

          61.   Eazor and Defendant Thomas first began soliciting support for the Merger in

November 2016. Specifically, on November 7, 2016, both participated in an analyst call to discuss

the status of Windstream's business and the Merger and stated, in relevant part: "[w]ith the

achievement of the significant synergies, adjusted free cash flow increases meaningfully, in

addition to providing great coverage to -- greater coverage to the dividend, the enhanced cash

flow is supported by continuous strategic network investments and lower leverage." [Emphasis

added].

          62.   As a result, Merrill Lynch posted a flash note on the same day stating: "We maintain

our Buy rating, as we believe the dividend is secure and the current 8.3% yield is too high for the

risk proposition the company presents." Furthermore, 24/7 Wall Street wrote, explicitly based on

the Individual Defendants' Merger-related statements, that "it appears that the super-high dividend

is safe for now. That is what the company and analysts are telegraphing."

          63.   On November 18, 2016, again explicitly based on the aforementioned Merger-

related statements regarding increasing dividend coverage, Cowen & Company reported:

          Windstream management remained adamant that the $0.60/share dividend is still
          important. Windstream further pointed to the advantages of higher FCF (and
          improved coverage) that the merger will provide, which not only secures the


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       dividend but makes it less of a burden as the influx of FCF will allow for plenty of
       capital discretionary opportunities such as de-leveraging, network expansion and
       other growth-related spending.

       64.     Cowen & Company also stated that they "came away more confident in ...

subsequent meaningful FCF growth (and dividend coverage) that we believe will ultimately get

the stock to work."

       65.     With these misperceptions of Windstream's dividend stability permeating through

the market, the Individual Defendants, on December 8, 2016, caused Windstream to file a

registration statement on Form S-4 with the SEC, registering 95,959,386 shares of Windstream

common stock in connection with the Merger (the "Registration Statement"). This was later

amended on January 9, 2017 and January 13, 2017 and declared effective on January 17, 2017.

       66.     On January 24, 2017, the Individual Defendants caused Windstream (and

EarthLink) to file with the SEC ajoint prospectus, dated January 23, 2017, which was mailed to

both Windstream and EarthLink shareholders on January 25, 2017 (the "Joint Prospectus"). The

Joint Prospectus incorporated and formed a part of the Registration Statement and was offered to

shareholders of both companies to form the basis of their vote for the Merger.

       67.     In violation of §14(a) of the Exchange Act, the January 23, 2017 Joint Prospectus

contained materially false and misleading statements and omissions.

       68.     The Joint Prospectus misleadingly represented that Windstream, post-Merger,

would have greater financial flexibility, debt reduction, and the ability to continue to pay

Windstream's existing dividend all the while becoming a stronger, more competitive national

telecommunications provider capable of creating greater value for stockholders. Specifically,

despite knowing otherwise, the Joint Prospectus stated that Windstream's Board, in consultation

with Windstream's management, viewed the following factors as supporting their decision, and

their recommendation to shareholders, to vote "FOR" the Merger:


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       •     the mergers will create a stronger,              more    competitive    national
             telecommunications provider ... ;

       •     the combined company will have greater potential to create value for
             stockholders than Windstream would otherwise have on a stand-alone
             basis ... ;

       •     the expectation that the transaction will be significantly accretive to
              Windstream's adjusted free cash flow per share, allowing greater financial
             flexibility for strategic network investments and debt reduction and providing
             support for the continued payment of Wint/stream's existing dividend after
             closing of the transaction;

                                                ***
       •     the expectation that the similar operating structures and goals of the two
             companies will drive advancement of products and services ... allowing the
             combined company to be a stronger competitor in a market dominated by
             larger telecommunication providers;

                                                ***
       •     its knowledge of Windstream's business, operations, financial condition,
             earnings and prospects and its knowledge of EarthLink's business, operations,
             financial condition, earnings and prospects, taking into account the results of
             Windstream's thorough due diligence review of EarthLink conducted by its
             management team, key personnel and its advisors; [and]

       •     the projected financial results of Windstream and EarthLink as standalone
             companies and the fit of the transaction with Windstream' s strategic goals[.]

[Emphasis added].

       69.       In addition, the Joint Prospectus included a table of"Unaudited Comparative Per

Share Data," which described both the historical and pro forma numbers for both companies.

Twice, the Joint Prospectus stated that "fp}ro forma [is the} same as historical, as no change in

Wint/stream's dividend policy is expected as a result of the mergers." [Emphasis added].

       70.       Further, the Joint Prospectus touted the "fairness opinion[ s]" of financial advisors

working on behalf of either Windstream or EarthLink. In the case of Windstream, the Company

engaged Barclays who, on November 5, 2016, concluded that the deal was fair and rendered its




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oral opinion (which was subsequently confirmed in writing) to the Windstream Board, who

incorporated it by reference and attached it to the Joint Prospectus.   In arriving at its opinion,

Barclays expressly stated that it "assumed and relied upon the accuracy and completeness of the

financial and other information [it] used ... without any independent verification of such

information ... [and] upon the assurances of management of [Windstream] that they [were] not

aware of any facts or circumstances that would make such information inaccurate or misleading

in any material respect." The Joint Prospectus also stated that Barclay's opinion provided support

for Defendants' recommendation to shareholders that they vote "FOR" the Merger.

       71.     Similarly, the Joint Prospectus stated:

       Q:      How does the Windstream Board recommend that Windstream
               stockholders vote?

       A:      The Windstream Board has unanimously approved the merger agreement
               and the transactions contemplated by the merger agreement, including the
               Windstream stock issuance and the Windstream charter amendment, and
               has determined and declared that they are advisable and are in the best
               interests of Windstream and its stockholders. The Windstream Board
               unanimously recommends that Windstream stockholders vote "FOR" the
               Windstream stock issuance proposal, "FOR" the Windstream charter
               amendment proposal and "FOR" the Windstream adjournment proposal.

                                              ***
       The Windstream Board unanimously approved the merger agreement and the
       transactions contemplated thereby, including the Windstream stock issuance
       and the Windstream charter amendment, and has determined and declared
       that they are advisable and are in the best interests of Windstream and its
       stockholders. The Windstream Board unanimously recommends that the
       Windstream stockholders vote "FOR" the Windstream stock issuance
       proposal, "FOR" the Windstream charter amendment proposal and "FOR"
       the Windstream adjournment proposal.

[Emphasis added in bold and italics].




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        72.    Finally, the Joint Prospectus cautioned Windstream and EarthLink investors alike

not to look elsewhere for information regarding each company or the Merger, stating, in relevant

part:

        You should rely only on the information contained in or incorporated by reference
        into this joint proxy statement/prospectus. No one has been authorized to provide
        you with information that is different from that contained in, or incorporated by
        reference into, this joint proxy statement/prospectus. This joint proxy
        statement/prospectus is dated January 23, 2017, and you should assume that the
        information contained in this joint proxy statement/prospectus is accurate only as
        of such date. You should assume that the information incorporated by reference
        into this joint proxy statement/prospectus is only accurate as of the date of such
        information. Neither the mailing of this joint proxy statement/prospectus to
        EarthLink stockholders or Windstream stockholders nor the issuance by
        Windstream of shares of common stock pursuant to the merger will create any
        implication to the contrary.

        73.    These statements were false and misleading at the time they were made in the

absence of the disclosure that Windstream: (1) was suffering worsening revenue trends and was

on pace to significantly miss market expectations in its legacy business; (2) was seeing material

declines in its wholesale and enterprise business sectors; (3) was observing increased and

aggressive competition and price cuts by larger telecommunications service providers and cable

operators; (4) did not have the operational capabilities, customer base, or products to reverse

worsening revenue trends; (5) faced challenges in servicing its increasing debt load; (6) was

experiencing deteriorating financial health; and (7) as a result of the above, was unable and

unlikely to be able to continue to payout its existing dividend.

        74.    The same is true with respect to Windstream's subsequently circulated press release

announcing the Merger and the presentation Windstream made available to shareholders and

analysts discussing the Merger. The press release misleadingly claimed that the Merger "'further

advances Windstream 's strategy by creating a stronger, more competitive business to serve our

customers while increasing free cash flow and reducing leverage[.]"'          [Emphasis added].



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Likewise, the presentation misleadingly claimed that the Merger, "Improves Balance Sheet,"

"Reduces leverage, improves credit profile and provides more financial flexibility," and that its

"Significant adjusted FCF accretion supports continued network investment, debt reduction

and provides greater coverage of the dividend." [Emphasis added]. Further, the presentation

misleadingly affirmed Defendants' representation that post-Merger, they would "fm]aintain

Windstream annual dividend of $0.60 I share" and that Windstream "fc]ontinued to optimize

fits] balance sheet by reducing debt and lowering interest cost." [Emphasis added].

       75.     Likewise, the Form 425 distributed by the Individual Defendants on February 8,

2017, to remind Windstream shareholders to vote for the issuance of Windstream stock to

effectuate the Merger, was also misleading. More specifically, Windstream's shareholders were

told in the Form 425 that they could expect as a result of the Merger, among other things:

"lmprove[ments] [in Windstream's] Balance Sheet[,]" including in Windstream's "credit

profile" and "financial flexibility," as well as "[s]ignificant adjusted free cash flow accretion

[that] supports continued network investment, debt reduction and provides greater coverage

of the dividend." [Emphasis added in italics].

       76.     Again, the statements highlighted in m[66-67 were false and misleading at the time

they were made in the absence of the disclosures identified in 160 above.

       C.      Contrary to the Representations Made in the Registration Statement and Joint
               Prospectus, Windstream's Financial Health and Dividend Stability Were
               Bleak at the Time of, and Following, the Merger

       77.     After considering the false and misleading information disseminated by the

Individual Defendants in the Registration Statement, Joint Prospectus, and related public filings,

EarthLink and Windstream's shareholders approved the Merger on February 24, 2017.

       78.     On February 27, 2017, the Individual Defendants completed the Merger, causing

Defendants Shimer and Turek to be appointed to Windstream' s Board.


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       79.     Almost immediately, the promises of financial strength and dividend stability

appeared fabricated, leading many analysts to question the financial condition of the Company.

For example, on March 1, 2017, a mere two days after the close of the Merger when all were told

things were good, the Individual Defendants caused Windstream to issue its 2016 fourth quarter

and fiscal year consolidated results. This led, on the very next day, to an article published on

Seeking Alpha that noted how Windstream's most recent "results didn't exactly help the

investment thesis" for the Company because "[t]he local telecom provider missed revenue

estimates by a wide $30 million," which "addfedj to general concerns about a declining

business." [Emphasis added].

       80.     Then, on March 27, 2017, Moody's announced that it had changed its ratings on

Windstream's debt from "stable" to "negative" after "the company's weak 2016 results and 2017

guidance." Moody's concluded that Windstream's "downward trajectory of the business will

persist and pressure Windstream' s B 1 rating."

       81.     By May 2017 the situation worsened. On May 4, 2017, Windstream reported

disappointing results for the second quarter of 2017. That same day, Defendant Gunderman

admitted that Windstream had expected such headwinds, stating, in relevant part: "[w]holesale has

been of a bit of a headwind in terms of the [Windstream] legacy services and the pressures. That's

something that we expected, that's baked within our guidance for the year." On the following day,

Jefferies reported that "Windstream reported disappointing results, missing both revenue and

EBITDA expectations. . . . Windstream suffered weak results, falling short of our estimates

across every revenue category[.]"      Furthermore, on May 10, 2017, UBS reported on the

Company's continued operational challenges, stating, in relevant part: "Slow start to the year .. .

WIN' s IQ results showed continued operations challenges. Service revenues declined 6.6%, above




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mgmt's guidance of-4.4% for the yr. Revenues fell across all segments, incl. consumer at -0.3%,

Enterprise at -2.6%, Carrier at -8.9%, ILEC SME at 5.9%, and CLEC SME at -17.8%."

        82.     On May 31, 2017, Defendant Thomas all but admitted that these issues in

Windstream' s legacy business were known before the Joint Prospectus was disseminated to

shareholders on January 25, 2017. During the question and answer portion of his presentation at

the Cowen Technology, Media & Telecom Conference, Defendant Thomas stated in response to a

question about Windstream's second quarter performance compared to its first quarter, and a

follow-up question about whether the "hiccup[ s]" experienced had anything to do with EarthLink:

       There was no sales hiccup at EarthLink. We had a couple customers who were
       rural healthcare funded that lost their funding on January 1. So that was a little
       bit of a hiccup, but that was actually legacy Windstream, nothing to do with
       EarthLink. So that was a little bit of noise in the numbers in JQ that created a
       little more pressure. But I still look forward in what I would call no fundamental
       changes in the business.

[Emphasis added].

        83.     Similar statements were made by Defendant Gunderman about a week later during

the Barclays High Yield Bond and Syndicated Loan Conference on June 8, 2017. During the

conference, Defendant Gunderman described increased competitive pressure, aggressive pricing

from competitors, and headwinds in additional areas of the business, including Windstream's

carrier and wholesale lines, stating, in relevant part:

       Yes, and I think you hit on 2 things that have certainly been a headwind in our
       carrier and wholesale business. The consolidation and grooming that's occurring
       with our peers and our customers and certainly impacted our top line. I often say
       the same thing that we are doing on behalf of our enterprise and SMB businesses,
       where we buy access from other carriers, well, that's their wholesale revenues.
       We're doing the same thing to them. That's happening to us at some level. We
       spend a lot more than we sell in access services, and so there's a little bit of a hedge
       there. The other thing that certainly happened on the wholesale business is
       pricing compression has occurred. As bandwidth consumption has gone up at a
       pretty rapid pace, the pricing per bandwidth has certainly come down. And so we've
       seen some of that sort of yield pressure, if you will, happen within wholesale. I'm
       proud of what the team has done in terms of selling more new logos and selling


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       more bandwidth to the content companies, to some extent, the cable companies who
       are now competing more aggressively on the enterprise side, where they don't have
       network.... We're doing a good job with that in expanding our network to capture
       those opportunities. I think that's going to pay dividends in the future for us. But
       in the near term, what we're seeing is the repricing and the renewal of our base.
       It's just been too much for us to overcome on top line, and we're stillfeeling some
       pressure on that this year.

[Emphasis added].

       84.    Defendant Gunderman also revealed that the Company knew and "expected"

increased competitive pressures and aggressive pricing from national cable competitors to occur -

two facts noticeably missing from the Registration Statement and Joint Prospectus. Indeed, during

the question and answer portion of the conference, and in response to a question about Comcast

following an unanswered question about the different segments of the business, Defendant

Gunderman stated, in relevant part:

       So cable competition has been no less. It's -- Comcast and Charter are our 2 biggest
       competitors, actually, Charter being the largest at over 30% overlap for our
       business, Comcast in the kind of mid-teens range. After that, it falls off pretty
       significantly from the national cable competitor standpoint. Around 20% of our
       footprint today has no cable competition. And so where we see cable competition
       at the national level, they have been aggressive. Charter, in particular, has been
       an aggressive competitor. I wouldn't say that, that unexpected. We did expect
       them to get - stay competitive in their markets, and they overlap with us. These
       markets are Lexington, Lincoln, some of those places. Those are also places where
       we have brought more speed capability to the marketplace, to get more on parity
       with what they're offering. But it's aggressive. I mean, there's an aggressive push
       out there with pricing, promoting price that's pretty low for the first year. We're
       doing the same thing. I think we're holding our own in those areas. As you look at
       our opportunity in those markets, we actually have what I call insurgent market
       share now because of some of the share losses that have happened over the past
       number of years. And so we've been able to be aggressive with our pricing and
       really come after that share and try to win it back, and that's what we'll continue to
       [do]. And then in the more rural markets, which is still a very significant part of our
       footprint, we could be more defensive in really protecting our base but also growing
       our base of customers in that wallet share that we have out there. And so that's how
       we've gone into market recently.

[Emphasis added].




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       85.     In reality, however, the Company was not "holding [its] own," and by August 2017,

the Individual Defendants caused Windstream to announce the end of its quarterly stockholder

dividend effectively immediately.      At the same time, the Individual Defendants caused

Windstream to report a remarkable $68 million loss for the second quarter of 2017 (compared with

net income of$1 .5 million a year prior) and that Windstream's operating income was $107 million,

down 31% from $155 million the previous year.

       86.     These announcements sent shockwaves throughout the financial media with many

focused on the impact the loss of the dividend had on Windstream and its stockholders. For

example, Seeking Alpha published an article on its website, entitled "The Death Of Windstream,"

which explained that ''the reason people owned this name, or other high risk telecoms, is for the

bountiful dividend.... The problem? The elimination of the dividend is enough for most investors

to thrown in the towel." And, in another article, entitled "Windstream Stock Tumbles as Dividend

Eliminated," 24/7 Wall Street wrote, in relevant part, that "[t]he company has missed profit

estimates by big margins in each of the past four quarters and shares have plummeted from a high

of $10.45 last September to below $3.50 this morning." One analyst explained, "so much damage

had been done to the stock that no management team would have ever knowingly done what they

did if there hadn't been some house-on-fire problem inside the business that caused them to create

such havoc to the equity market."

       87.     Seeking Alpha followed up on its reporting in September 2017, publishing an

article, entitled "Windstream: Full Panic Mode," which stated:

       Windstream sent the market into panic mode with a new capital allocation plan
       in August. ... Windstream made a surprise announcement to immediately
       eliminate the dividend and implement a stock buyback plan. The stock ended the
       prior day trading at $3. 72 and has nearly lost 50% of the value as dividend
       investors flee the stock and the market extrapolates too many negatives from the
       dividend elimination.



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[Emphasis added].

On September 29, 2017, Dividend.com wrote that "[t]he 'nail in the coffin' for Windstream was

when the company eliminated its dividend in early August[.]"

       88.     Analysts were likewise unsuspecting and troubled by Windstream's cancelled

dividend. For example, Jefferies slashed its price target for Windstream stock in half from $5.00

to $2.50 per share on August 4, 2017, emphasizing that "Elimination of the Dividend Sends

Investors Out The Door" and stating that "investors sold the [Company's] shares aggressively

on the news[.]"     Jefferies also observed that Windstream suffered from more fundamental

problems, writing that "[t]he loss of high-margin legacy revenue, and declining broadband

subscribers will continue to weigh on results and sentiment." Days later, on August 7, 2017,

Deutsche Bank described the "headwinds across key segments," including "Residential share loss

[and] SME/Enterprise slowdowns from slower spend[.]"

       89.     On August 11, 2017, UBS issued an analyst report, entitled "Windstream

Corporation: Dividend cut didn't solve all problems," which described Windstream's ''weak 2Q

results" and the "competitive pressures to continue to hurt the top-line[,]" stating, in relevant part:

       WIN' s 2Q results remained weak, missing our estimated by ~ 1%. Service revenues
       fell 7.5% yoy, accelerating from a 6.6% decline in IQ. Weakness was driven by
       Enterprise (down 4.7% vs. -3.9% in IQ - as data revenues fell for the first time),
       and continued declines in other segments. Similarly, the 2017 revenue guide was
       lowered by ~2% and EBITDA by 1% (exc. $120M revenue and $20M contribution
       from Broadview).

       90.     UBS added, "[w]e are concerned that challenging business trends along with

sustained weakness in voice/wholesale continue to drive top line pressure. While management had

identified new cost cutting and synergy opportunities, we believe this will not be sufficient to

stabilize EBITDA." UBS also expressed concerned about Windstream's debt, stating, in relevant

part, "[w]e believe capital intensity needs to remain at mid-teens to drive profitable revenue growth



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on a sustainable basis, which combined with low-SD EBITDA declines does not leave much room

for leverage to fall. . . . Despite the recent dividend cut, worries remain about the company's

ability to stabilize the top line and de-lever over time."

       91.     On September 7, 2017, while attending a conference, an analyst from Bank of

America Merrill Lynch made the following statement to Defendant Gunderman, indicating that

the dividend cut was a result of pre-existing problems that Windstream expected:

       And so, the equity market responded to the dividend cut with a 50% haircut on the
       stock. And I think, day 1, there was actually what I thought was maybe a fairly
       logical, for most of the day, fairly logical opposite reaction to the bond market,
       which was, okay, Windstream has more cash to deploy to the debt holders. It's a
       greater interest cover and the rest of it. But then, all of a sudden, they [i.e.,
       investors] didn't believe that anymore. They actually believed that ... so much
       damage had been done to the stock that no management team would have ever
       knowingly done what they did if there hadn't been some house-on-fire problem
       inside the business that caused them to create such havoc to the equity market,
       and the bond market got scared. Totally unanticipated on your part?

[Emphasis added].

       92.     Defendant Gunderman responded, stating simply that "we were certainly surprised

to see the reaction from the fixed income community [i.e., bond-holders]." Notably, Defendant

Gunderman did not address whether the dividend cut itself was unexpected or unanticipated, nor

did he assure the market that major, pre-existing problems were not present inside the business.

       93.     Thus, the Individual Defendants deceived shareholders into believing that the

Merger would be rewarding by misleadingly representing that the Company's post-merger

dividend would remain the same if not increase, and that its business and financial health would

be solid. However, as detailed herein, the truth was that the Individual Defendants knew, yet

concealed, that Windstream's dividend was collapsing, its debt was increasingly unstable, and its

business prospects were dismal before the Joint Prospectus was filed and used by shareholders to

vote for the Merger.



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       D.      The Headwinds Concealed by the Individual Defendants Continued to Cause
               Windstream to Post Disappointing Results in the Second Half of 2017 and into
               2018, Leading Analysts to Further Question the Company's Financial
               Situation

       94.     The issues that plagued Windstream prior to and immediately following the

Merger, including, but not limited to, the Company's worsening revenue trends and material

declines in its legacy, wholesale, and enterprise business sectors due to increased and aggressive

competition and price cuts, as well as its persistent challenges in servicing its increasing debt load,

continued in the second half of 2017 and into 2018. Analysts, as a result, continued to cover the

Company negatively.

       95.     On October 18, 2017, Seeking Alpha published an analyst's article, entitled

"Windstream: There's Blood on the Streets," which noted that "[s]hort interest in Windstream has

spiked to an all-time high .... This indicates that market participants are betting on its stock to

fall further. Its shares could stay distressed over the coming weeks due to the heightened selling

pressure." The article continued:

       Shareholders of Windstream ... have had a painful last few months. Value of their
       holdings in the company has depreciated by almost 50% over the last quarter. After
       such a drastic downtrend, it's natural to ask if selling pressure in the scrip has
       subsided by now. But that's unfortunately not the case here. Latest data filing
       reveals that short interest in the company has risen yet again to reach an all-time
       high. And this continuing increase in selling pressure suggests that shares of
       Windstream could fall further.

       96.     The Seeking Alpha article also observed Windstream's fall from grace from being

a conservative income play to a speculative investment, stating, in relevant part:

       Windstream has been posting dismal financials over the past few quarters. It has
       missed the lower end of analyst estimates in six of the past seven quarterly results
       and discussions about its potential bankruptcy are becoming popular in most
       investing forum with each passing week. . . . Windstream has gone from being a
       conservative income play to a speculative investment.




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        97.    Analyst sentiments remained the same following the Individual Defendants' release

of Windstream's disappointing financial results for the third quarter of 2017. For example, on

September 26, 2017, following an announcement that Windstream received a default notice from

holders of Windstream's 6 3/8% senior notes due 2023, Moody's reported that it "views this

disclosure as a negative event that raises uncertainty around Windstream and which could further

impede Windstream's ability to access the capital markets." "If the issue is not resolved quickly

and in favor of the company," the Moody's report continued, "Windstream could encounter

difficulties accessing funds to refinance its debt maturities[.]" In addition, Moody's stated that it

"believes that Windstream's limited financial flexibility exposes it to a potential deterioration of

liquidity if the issue drags on for a prolonged period, especially if negative market forces continue

to be amplified by the disclosure of the notice of alleged default."2

        98.     On November 3, 2017, Moody's again expressed concern by downgrading

Windstream's debt to 82, reporting that the "outlook remains negative" because "Windstream's

weak revenues and EBITDA continue to weigh on its ratings, with year over year declines in the

4% to 5% range."

        99.     On November 13, 2017, Windstream's financial condition was characterized as

"critical" by yet another Seeking Alpha analyst, whose report, entitled "Windstream Is In Critical

Condition," observed that "[t]he reason the stock tanked, aside from facing extreme competitive

pressures and financial issues, is that the company had eliminated its dividend all together back in

August."




2       At the time of the filing of this action, litigation in the U.S. District Court for the Southern
District of New York related to the alleged default remained active, with Windstream having
conceded in Court filings that an Event of Default and any anticipated acceleration of debt would
likely force Windstream into bankruptcy.


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       100.    In February 2018, following yet another disappointing financial quarter with the

Individual Defendants causing Windstream to claim a net loss of $1.84 billion for the fourth

quarter of 2017, or $10.26 per share, compared to a net loss of $87 million (or $0.94 per share) the

previous year, was "due to changes in long-term cash flow projections, driven by recent

operational results and future assumptions as well as changes in cost of capital assumptions."

[Emphasis added].     Moody's reaffirmed its negative outlook on the Company.            Indeed, in

explaining why it downgraded Windstream's debt to B3, Moody's stated:

       Moody's Investors Service, (Moody's) has downgraded the corporate family rating
       (CFR) of Windstream Services, LLC (Windstream) to B3 from B2 based on the
       company's sustained weak operating trends and a challenging debt maturity
       profile. Moody's has also downgraded Windstream's probability of default rating
       (PDR) to B3-PD from B2-PD, its secured rating to B3 from B2 and its unsecured
       rating to Caal from B3. Windstream's speculative grade liquidity rating (SGL)
       remains at SGL-2, reflecting good liquidity. The outlook remains negative due to
       Moody's expectation of continued pressure on EBITDA, negative free cash flow
       including persistent restructuring costs, and low asset coverage relative to debt.

       Windstream faces large debt maturities over $1 billion each in 2020 and 2021 and
       strong negative market sentiment that poses very high refinancing risk.
       Windstream's revenues and EBITDA declined 5.5% (proforma) in 2017 versus
       2016. Moody's expects this trend to continue in 2018 and pressure cash flow and
       liquidity. Management expects an improvement in EBITDA trend in 2018 and a
       return to growth in 2019. Absent a change in EBITDA trajectory, the company's
       credit profile will remain stressed.

                                              ***
       Windstream' s 83 corporate family rating reflects its scale as a national wire line
       operator with a large base of recurring revenues, offset by high leverage, a
       declining top line and margin pressure. Moody's believes that Windstream/aces
       a continued erosion of EBITDA and cash flows as a result of prolonged prior
       underinvestment.

[Emphasis added].

       101.    Come June 2018, some analysts noted that Windstream "has had an unpleasant

year, to say the least. Shares have shed three-quarters of their value in the past 12 months, as

competitive pressures, difficult technology transitions, and a high debt load sent investors into a


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panic over possible insolvency." Others, following a request by Windstream of its shareholders

to permit Windstream to assume more junior debt and amend its credit agreements, noted that

"Windstream is having to do financial jujitsu just to keep itself afloat at the moment, all while

posting net losses of $156 million in its most recent quarter."

        102.   On this news, Moody's downgraded Windstream's debt to "distressed" on June 19,

2018, citing the "company's expected failure to meet its debt service obligations due to its

commencement of debt exchange offers at significant discounts to par value with respect to certain

series of its senior notes for second lien notes." The Moody's report continued:

       Based on final acceptance levels and exchange allocations, Moody's expects this
       would constitute a distressed exchange and would represent a material amount of
       unsecured debt, likely totaling 12% or more of outstanding funded debt. Moody's
       views this planned action as evidence that Windstream's weak operating trends are
       worsening and that the company's ability to transition to approximately stable
       EBITDA is proving more difficult than previously anticipated. Furthermore,
       Moody's believes that Windstream's capital structure has become untenable and
       these exchanges aim to help the company delay or potentially avoid future payment
       defaults.

        103.   As of December 31, 2016, Windstream had over $4.8 billion in long-term debt

outstanding, including current maturities. One year later, by December 31, 2017, Windstream

increased its debt load to a staggering $5.8 billion in long-term debt outstanding, including current

maturities.

VI.    DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

        104.   Plaintiff was a shareholder at the time of the conduct complained of herein, has

continuously held shares of Windstream through the present, and will continue to remain a

shareholder of Windstream throughout the pendency of this action. Plaintiff will adequately and

fairly represent the interests of Windstream and its shareholders in enforcing its rights.

       105.    Plaintiff repeats, realleges, and incorporates by reference each and every allegation

set forth as though fully set forth herein. In addition to those allegations, demand on the current


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Board (comprised of Defendants Wells, Thomas, Beall, Diefenderfer, Hinson, LaPerch, Shimer,

Stoltz, and Turek) would have been a futile act for at least the following reasons as set forth herein.

        106.   Such a demand would be a futile and useless act because there is a reasonable doubt

that a majority of the current nine-member Board is capable of making an independent and

disinterested decision about whether to institute and vigorously prosecute this action.

        107.   A majority of the Board has a strong interest in refusing to bring the claims asserted

by Plaintiff to protect themselves against a further substantial likelihood of liability for violating

federal securities laws, which disqualifies them from considering a demand. All of the Director

Defendants sat on either the Windstream and/or EarthLink Boards during the relevant period,

participated in the preparation of the false and misleading Registration Statement and Joint

Prospectus, and caused the dissemination of the false and misleading Registration Statement and

Joint Prospectus to shareholders who, in tum, used it to form the basis of their vote to approve the

Merger. As described above, these culpable directors face a substantial likelihood of liability for

violating § l 4(a) of Exchange Act. These statements harmed both Windstream and its shareholders

by misleadingly forming the basis of their votes on the Merger.

       108.    Moreover, the Joint Prospectus expressly states, as one of the few identified factors

that the Windstream Board considered and concluded supported its decision to approve the

Merger, that ''the fact that nine members of the proposed twelve-member combined company

board will be members of the existing Windstream Board and that [Defendant] Thomas will be the

chief executive officer and [Defendant] Gunderman will be the chief financial officer of the

combined company[.]" To expect these same Board members to disinterestedly and independently

consider a demand, seeking to hold themselves accountable for the misconduct alleged herein and




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in the related Securities Action currently pending in the Eastern District of Arkansas, would be to

plainly ignore their own concessions.

        109.    Further, as detailed herein, the Director Defendants had an obligation to ensure that

Windstream complied with the law that they actively shirked.           Faced with knowledge that

Windstream's business was significant challenges, its debt was increasingly unstable, and its

dividend, despite representations that it would be maintained, was evaporating, the Director

Defendants caused or allowed the Company to issue materially false and misleading statements,

including in both the Registration Statement and Joint Prospectus, which were used by

shareholders to form the basis of their votes for the Merger, concealing the truth.

        110.    Similarly, issuing a demand upon Defendant Thomas is a wasteful and futile act.

According to the Company's latest proxy statement, the Board has determined that Defendant

Thomas fails to meet the independence rules prescribed by the SEC and NASDAQ's listing

standards. Accordingly, demand is futile with respect to Defendant Thomas.

        111.    To date, the Director Defendants have failed to seek to recover for the Company

for any of the wrongdoing identified by Plaintiff herein. For all these reasons, a majority of the

current Windstream Board is incapable of independently and fairly evaluating a demand to bring

an action against themselves and other Windstream executives.

VII.    CLAIMS FOR RELIEF

                                             COUNTI
                             Violation of §14(a) of the Exchange Act
                             Against All of the Individual Defendants

        112.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above as if fully set forth herein.

        113.    SEC Rule 14a-9, 17 C.F.R. §240.14a-9, promulgated pursuant to §14(a) of the

Exchange Act, provides:


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       No solicitation subject to this regulation shall be made by means of any proxy
       statement, form of proxy, notice of meeting or other communication, written or
       oral, containing any statement which, at the time and in the light of the
       circumstances under which it is made, is false or misleading with respect to any
       material fact, or which omits to state any material fact necessary in order to make
       the statements therein not false or misleading or necessary to correct any statement
       in any earlier communication with respect to the solicitation of a proxy for the same
       meeting or subject matter which has become false or misleading.

17 C.F.R §240.14a-9(a).

       114.    The Individual Defendants exercised control over Windstream and caused

Windstream to disseminate the false and misleading Registration Statement and Joint Prospectus.

These materially misrepresented the Company's current and future business, debt, and dividend.

       115.    As stated herein, the Registration Statement and the Joint Prospectus contained

untrue statements of material facts and omitted to state material facts necessary to make the

statements that were made not misleading in violation of §14(a) of the Exchange Act and SEC

Rule 14a-9 promulgated thereunder. These false statements and omissions were essential links to

the effectuation of the Merger and formed the basis of the Company's shareholders vote for the

Merger.

       116.    The written communications made by the Individual Defendants described herein

constitute violations of Rule 14a-9 and § 14(a) because such communications were materially false

and/or misleading and were provided in a negligent manner.

       117.    At all relevant times to the dissemination of the materially false and/or misleading

Registration Statement and Joint Prospectus, the Individual Defendants were aware of/or had

access to information showing that Windstream's business was facing significant challenges, its

debt was increasingly unstable, and its dividend was not actually going to increase, much less be

maintained.




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        118.    Windstream, as a result, has been injured by this conduct and is entitled to damages

and equitable relief.

                                            COUNT II
                             Violation of §29(b) of the Exchange Act
                             Against All of the Individual Defendants

        119.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above as if fully set forth herein.

        120.    The Director Defendants each received incentive compensation and fees, including

stock awards, while engaging in conduct that violates §14(a) of the Exchange Act. The Individual

Defendants' incentive compensation and fees should be rescinded under §29 of the Exchange Act

because these Defendants violated §14(a) by issuing false and misleading reports to Windstream

shareholders regarding the nature of, and responsibility for, violations of federal law and

regulations. All of the payments the Individual Defendants received are therefore voidable by

Windstream under §29(b) of the Exchange Act.

        121.    Windstream is in privity with the Individual Defendants with respect to the

incentive compensation and fees provided by Windstream to these Defendants. The Individual

Defendants have engaged in prohibited conduct in violation of the securities laws as alleged herein.

        122.    Windstream has been severely injured by the misconduct of the Individual

Defendants. Accordingly, Windstream is entitled to damages, i.e., rescission of the incentives,

compensation, and fees granted to the Individual Defendants.

                                            COUNTIII
                                    Breach of Fiduciary Duty
                             Against All of the Individual Defendants

        123.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above as if fully set forth herein.




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           124.   The Individual Defendants each owe (and owed) Windstream and its shareholders

fiduciary duties of loyalty, good faith, candor, trust, and due care in managing the Company's

affairs.

           125.   As detailed above, the Individual Defendants breached their fiduciary duties by

permitting Windstream, its directors, and officers to violate federal securities law, as well as the

Company's own internal governance regulations.

           126.   As a direct and proximate result of the Individual Defendants' breaches of their

fiduciary duties, Windstream has been damaged, not only monetarily, but also with regard to its

corporate image and goodwill, having deceived the market into approving the Merger on the

grounds that post-Merger Windstream would be stronger, its financial flexibility would cover, at

minimum, the Company's pre-Merger dividend, and its debt would be stable. In addition, there is

a possibility that Windstream will sustain additional monetary and reputational damages should

the Securities Action progress.

           127.   Plaintiff, on behalf of Windstream, has no adequate remedy at law.

VIII. PRAYER FOR RELIEF

           WHEREFORE, Plaintiff demands judgment as follows:

           A.     Finding that a shareholder demand on the Windstream Board would have been a

futile and useless act;

           B.     Finding that the Individual Defendants have breached their fiduciary duties to the

Company and its shareholders by violating federal securities laws and regulations;

           C.     Against each of the Individual Defendants in favor of Windstream for the amount

of damages sustained by Windstream, as a result of the breaches of fiduciary duties by each of the

Individual Defendants, as alleged herein, jointly and severally, in an amount to be determined at

trial, together with pre- and post-judgment interest at the maximum legal rate allowable by law;


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       D.     Requiring the Individual Defendants to return to Windstream all compensation and

remuneration of whatever kind paid by Windstream during the time that they were in breach of the

fiduciary duties they owed to Windstream;

       E.     Directing the Individual Defendants to establish, maintain, and fully fund effective

corporate governance and compliance programs to ensure that Windstream directors, officers, and

employees do not engage in wrongful and illegal practices;

       F.     Granting appropriate equitable and/or injunctive relief to remedy the Individual

Defendants' misconduct, as permitted by law;

       G.     Awarding to Plaintiff the costs and disbursements of this action, including

reasonable attorneys' and experts' fees and expenses; and

       H.     Granting any such other further relief as the Court may deem just and proper.

IX.    JURY DEMAND

       Plaintiff demands a trial by jury.



DATED: September 26, 2018                      POYNTER LAW GROUP




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                           VERIFICATION OF CINDY GRAHAM

         I, Cindy Graham, make this Declaration, and, being duly sworn, depose and say:

         I am the derivative plaintiff in this action. I verify that I have reviewed the Verified

Stockholder Derivative Complaint (the "Complaint") to be filed in this action and that the facts

stated in the Complaint, as they concern myself, are true to my personal knowledge. I believe

the facts pleaded in the Complaint on information and belief or investigation of counsel are true.

         I have not received, been promised or offered, and will not accept any form of

compensation, directly or indirectly, for prosecuting this action or serving as a representative

party in this action except: (i) such fees, costs, or other payments as the Court expressly approves

to be paid to me; or (ii) reimbursement, by my attorneys, of actual and reasonable out-of-pocket

expenditures incurred directly in connection with the prosecution of this action.

Dated:    q-J'&'-lf?
                                                          ~~
                                                         CINDYG




Sworn to and subscribed before me this     /3f/:;. of September, 2018.


My commission expires:
